Case |2:19-cv-02070-TJH-PLA Document 40 Filed 05/17/21 Page1of13 Page ID #:187

1 || Thomas P. Riley, SBN 194706

LAW OFFICES OF THOMAS P. RILEY
2 || First Library Square

1114 Fremont Avenue

3 || South Pasadena, CA 91030-3227

4 11Tel: 626-799-9797
Fax: 626-799-9795
TPRLAW @att.net

Attorneys for Plaintiff
7 || Innovative Sports Management, Inc.
d/b/a Integrated Sports Media

UNITED STATES DISTRICT COURT
° CENTRAL DISTRICT OF CALIFORNIA
11 WESTERN DIVISION

INNOVATIVE SPORTS Case No. 2:19-cv-02070-TJH-PLA
'3 || MANAGEMENT, INC., d/b/a
44 || INTEGRATED SPORTS MEDIA, PLAINTIFF’S EXHIBIT LIST
FOR TRIAL

15

Plaintiff,

16

‘9 Vs.

18 || EDWIN R. INGA,
19

Defendant.
20

 

 

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22 || PLAINTIFF’S PROPOSED EXHIBIT LIST’:
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No. Description — Date Identified Date Admitted

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25

96 || 1. John Valentino Affidavit
Photographs and Video

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1 The within Plan is submitted to this Honorable Court is done so on “unilateral” basis because Plaintiff's

counsel efforts to secure the Defendant’s input on a Joint Exhibit List for Trial, were unavailing (Please see
Plaintiff's Exhibit 1 and Exhibit 2 attached).

Page 1

 

 

 

 

 
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2:19-cv-02070-TJH-PLA Document 40 Filed 05/17/21

2. February 12,2018 .
Distribution Agreement

3. Closed-Circuit
(commercial) Rate Card

4. Post-Event Score Sheet for
Friday, March 23, 2018

from www.foxsports.com

5. Tomboloco Peruvian
Restaurant Yelp Page

6. The Infatuation Article on
Tombo Loco Peruvian

7. Plaintiff's Initial Disclosures

8. Defendant’s Discovery Responses

   
 

Dated: May 17, 2021 ke

By: Thomas P. Riley
Attorneys for Plaintiff

Page 2

 

Page 2 of 13 Page ID #:188

Respectfully submitted,

LAW OFFICES OF THOMAS P. RILEY, P.C.

Innovative Sports Management, Inc.,
d/b/a Integrated Sports Media

 

 

 
Case 2:19-cv-02070-TJH-PLA Document 40 Filed 05/17/21 Page3o0f13 Page ID #:189

Exhibit 1

 

 
Case 2:19-cv-02070-TJH-PLA Document 40 Filed 05/17/21 Page4of13 Page ID #:190

LAW OFFICES OF THOMAS P. RILEY

A PROFESSIONAL CORPORATION

First LIBRARY SQUARE
1114 FREMONT AVENUE
SOUTH PASADENA, CA 91030-3227
WWW.TPRLAW.NET

TEL: (626) 799-9797 FAX: (626) 799-9795

May 11, 2021

Mr. Edwin R. Inga
1905 South Western Avenue, No. 8
Los Angeles, CA 90018

Re: Innovative Sports Management, Inc., d/b/a Integrated Sports Media vy. Edwin R. Inga, et al.
Case No. 2:19-cv-02070-TJH-PLA (USDC CDCA)

Mr. Inga: Transmitted By Overnight Mail

The Honorable Terry J. Hatter, Jr., our trial judge in the above-entitled action, has ordered the Parties
to file a Joint Exhibit List by Monday, May 17, 2021. On that basis, I now attach a draft copy of the
Joint Exhibit List, which we have completed on behalf of the Plaintiff.

At this time, it is necessary for you to complete the section of the Report styled “Defendant’s Proposed
Exhibit List” on Page 2. In that our office has this document in a Microsoft Word format, it would be
much, much easier for you to complete the document if you would allow us to email it to you or to
someone who could receive it on your behalf. This will also facilitate you returning the document to
us. If you are agreeable to receiving this document by email, | ask you to please reply to Ms. Karla
Diaz (tprusa@att.net) in our office and provide her the email address you would like us to use and
that you please do so at your very earliest convenience.

In that there is a May 17, 2021 deadline for this Joint Exhibit List, it is imperative we receive
your fully completed draft no later than close of business Friday, May 14, 2021. If we do not
have your completed draft by that deadline, Plaintiff will file its own Exhibit List the following
business day without further notice, delay, or demand.

Thank you very much for your foremost attention and anticipated cooperation.

Cordially,

 

THomas P. Ri

TPR kd

 
Case |2:19-cv-02070-TJH-PLA Document 40 Filed 05/17/21 Page5of13 Page ID #:191

1 |} Thomas P. Riley, SBN 194706

LAW OFFICES OF THOMAS P. RILEY
2 || First Library Square

1114 Fremont Avenue

3 || South Pasadena, CA 91030-3227

* \| Tel: 626-799-9797
Fax: 626-799-9795
TPRLAW @att.net

Attorneys for Plaintiff
7 || Innovative Sports Management, Inc.
d/b/a Integrated Sports Media

Edwin R. Inga, Pro Se

2 111905 South Western Avenue, No 8
Los Angeles, CA 90018 -

10 || Tel: 323-548-9809

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"8 UNITED STATES DISTRICT COURT

14 CENTRAL DISTRICT OF CALIFORNIA

s ' WESTERN DIVISION

16 || INNOVATIVE SPORTS Case No. 2:19-cv-02070-TJH-PLA

17 || MANAGEMENT, INC., D/B/A
INTEGRATED SPORTS MEDIA, JOINT EXHIBIT LIST FOR TRIAL

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19 Plaintiff,

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VS.
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22 || EDWIN R. INGA,

. Defendant.

 

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PLAINTIFF’S PROPOSED EXHIBIT LIST:
No. Description Date Identified
l. John Valentino Affidavit

Photographs and Video

2. February 12, 2018
Distribution Agreement

3. Closed-Circuit
(commercial) Rate Card

4. Post-Event Score Sheet for
Friday, March 23, 2018

from www.foxsports.com

3. Tomboloco Peruvian
Restaurant Yelp Page

6. The Infatuation Article on
Tomboloco Peruvian

T: Plaintiffs Initial Disclosures

Defendants’ Discovery Responses

DEFENDANT’S PROPOSED EXHIBIT LIST:

No. Description Date Identified/
Admitted

Page 2

Date Admitted

Stipulated for
Admission

 

 
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2:19-cv-02070-TJH-PLA Document 40 Filed 05/17/21 Page 7of13 Page ID #:193

Dated:

Dated:

Respectfully submitted,

Draft Copy

LAW OFFICES OF THOMAS P. RILEY, P.C.
By: Thomas P. Riley

Attorneys for Plaintiff

Innovative Sports Management, Inc.,

d/b/a Integrated Sports Media

 

EDWIN R. INGA

By: Edwin R. Inga,

Pro Se Defendant

individually and d/b/a Tombo Loco
Peruvian Restaurant

Page 3

 

 
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PROOF OF SERVICE (SERVICE BY OVERNIGHT MAIL)

I declare that:

I am employed in the County of Los Angeles, California. I am over the age of
eighteen years and not a party to the within cause; my business address is First Library
Square, 1114 Fremont Avenue, South Pasadena, California 91030-3227. I am readily
familiar with this law firm's practice for collection and processing of

correspondence/documents for mail in the ordinary course of business.

On May 11, 2021, I caused to serve the following documents entitled:
JOINT EXHIBIT LIST

On all parties referenced by enclosing a true copy thereof in a sealed envelope
with postage prepaid and following ordinary business practices, said envelope was
addressed to:

Edwin R. Inga (Pro Se Defendant)

1905 South Western Ave., No 8
Los Angeles, CA 90018

I declare under the penalty of perjury pursuant to the laws of the United States
that the foregoing is true and correct and that this declaration was executed on May 11,

2021, at South Pasadena, California.

Dated: May 11, 2021 /s/ Karla Diaz
KARLA DIAZ
Mt

Il

Page 4

 

 

 
6/11/2021 Case 2:19-cv-02070-TJH-PLA DocufieetxtS4® Maragect BSL NGYAbbelRage 9 of 13 Page ID #:195

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After printing this label:

4. Use the 'Print’ button on this page to print your labe'

2. Fold the printed page along the horizontal line.
3. Place label in shipping pouch and affix it to your shipment so that the barcode portion of the label can be read and scanned.

to your laser or inkjet printer.

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Warning: Use only the printed original label far shipping. Using a photocopy of this label for shipping purposes is fraudulent and could result in additional billing charges, along with the
cancellation of your FedEx account number.

Use of this system constitutes your agreement to the service conditions in the current FedEx Se
excess of $100 per package, whether the result of loss, damage, delay, non-delivery,misdelivery,
document your actual loss and file a timely claim.Limitations found in the current FedEx Service Guide apply. Your
the package, loss of sales, income interest, profit, attorney's fees, costs, and other forms of damage whether direct,

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or misinformation, unless you declare a higher value, pay an additional charge,
right to recover from FedEx for any loss, including intrinsic value of
incidental,consequential, or special is limited to the greater of $100

or the authorized declared value. Recovery cannot exceed actual documented loss.Maximum for items of extraordinary value is $1,000, e.g. jewelry, precious metals, negotiable
instruments and other items listed in our ServiceGuide. Written claims must be filed within strict time limits, see current FedEx Service Guide.

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Case 2:19-cv-02070-TJH-PLA Document 40 Filed 05/17/21 Page 10o0f13 Page ID #:196

Exhibit 2

 
Case 2:19-cv-02070-TJH-PLA Document 40 Filed 05/17/21 Page11of13 Page ID #:197

ar
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Fed =

TRACK ANOTHER SHIPMENT

773697738121
ADD NICKNAME

Delivered

Thursday, May 13, 2021 at 2:21 pm

 

FROM

DELIVERED
Signature not required

GET STATUS UPDATES

OBTAIN PROOF OF DELIVERY

LAW OFFICES OF THOMAS P. RILEY

Thomas Riley

First Library Square
1114 Fremont Avenue
South Pasadena, CA US 91030
626-799-9797

Travel History

TIME ZONE
Local Scan Time

Thursday, May 13, 2021

2:21 PM LOS ANGELES, CA

11:16 AM INGLEWOOD, CA

7:30 AM INGLEWOOD, CA

Wednesday, May 12, 2021

4:51 PM INGLEWOOD, CA

2:07 PM INGLEWOOD, CA

Delivered

TO
Mr. Edwin R. Inga

1905 South Western Avenue
No. 8
LOS ANGELES, CA US 90018
626-799-9797

Package delivered to recipient address - release authorized

On FedEx vehicle for delivery

At local FedEx facility

At local FedEx facility

Delivery exception

Customer not available or business closed

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Case 2:19-cv-02070-TJH-PLA

9:02 AM INGLEWOOD, CA
7:91 AM INGLEWOOD, CA
3:11 AM OAKLAND, CA

Tuesday, May 11, 2021

11:00 PM OAKLAND, CA

8:40 PM LOS ANGELES, CA

8:00 PM LOS ANGELES, CA
7:20 PM LOS ANGELES, CA

6:01 PM SOUTH PASADENA, CA
6:19 PM

Shipment Facts

TRACKING NUMBER
773697738121

WEIGHT
0.5 Ibs / 0.23 kgs

TOTAL PIECES
1

SHIPPER REFERENCE
Tombo Loco 3/23/18

SHIP DATE
5/11/21@

Document 40 Filed 05/17/21
On FedEx vehicle for delivery

At local FedEx facility

Departed FedEx location

Arrived at FedEx location
At destination sort facility
Left FedEx origin facility
Picked up

Picked up
Tendered at FedEx Office

Shipment information sent to FedEx

SERVICE
FedEx Standard Overnight

DELIVERY ATTEMPTS
2

TOTAL SHIPMENT WEIGHT
0.5 Ibs / 0.23 kgs

PACKAGING
FedEx Envelope

STANDARD TRANSIT
5/12/21 by 4:30 pm @

Page 12 of 13 Page ID #:198

DOOR TAG NUMBER
DT105955212715

DELIVERED TO
Residence

TERMS
Shipper

SPECIAL HANDLING SECTION
Deliver Weekday, Residential Delivery

ACTUAL DELIVERY
5/13/21 at 2:21 pm

 
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PROOF OF SERVICE (SERVICE BY MAIL)

I declare that:

I am employed in the County of Los Angeles, California. I am over the age of
eighteen years and not a party to the within cause; my business address is First Library
Square, 1114 Fremont Avenue, South Pasadena, California 91030-3227. I am readily
familiar with this law firm's practice for collection and processing of

correspondence/documents for mail in the ordinary course of business.

On May 17, 2021, I caused to serve the following documents entitled:
PLAINTIFF’S EXHIBIT LIST FOR TRIAL

On all parties referenced by enclosing a true copy thereof in a sealed envelope
with postage prepaid and: following ordinary business practices, said envelope was

addressed to:

Edwin R. Inga (Pro Se Defendant)

1905 South Western Ave., No 8

Los Angeles, CA 90018

The fully sealed envelope with pre-paid postage was thereafter placed in our
law firm’s outbound mail receptacle in order that this particular piece of mail could be
taken to the United States Post Office in South Pasadena, California later this day by

myself (or by another administrative assistant duly employed by our law firm).

I declare under the penalty of perjury pursuant to the laws of the United States _
that the foregoing is true and correct and that this declaration was executed on May 17, _

2021, at South Pasadena, California.

Dated: May 17, 2021

 

 

Page 3

 

 

 

 

 
